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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


LIDIYA TILAHUN BIRHANU,                            *
                                                   *
                 Plaintiff,                        *
         v.                                        *    Civil Action No. TJS-22-2104
                                                   *
UNITED STATES CITIZENSHIP
 AND IMMIGRATION SERVICES, et al.,         *
                                           *
                 Defendants.               *
                                       ********
                             CONSENT MOTION TO STAY

       Defendants, with the consent of Plaintiff (the Parties), request that the Court temporarily

stay this action to allow for a non-judicial resolution, and in support thereof state:

       1. Plaintiff commenced this action on August 22, 2022 seeking to compel the United

States Citizenship and Immigration Services (USCIS) to adjudicate Plaintiff’s Form I-589,

Application for Asylum and Withholding of Removal. See ECF 1, Complaint. Undersigned

counsel calculates Defendants’ response to the Complaint is due on or before October 31, 2022.

       2. The Parties have been in communications about resolving Plaintiff’s claims without

further litigation or need for judicial intervention. The Parties have agreed that Defendants submit

this request for the Court to stay this matter, subject to and consistent with the following:

                 a.      Plaintiff is scheduled for and, absent unforeseen or exceptional

       circumstances, will appear for an interview with USCIS on November 7, 2022, concerning

       her asylum application.

                 b.      USCIS—through its Arlington Asylum Office—agrees to diligently work

       towards completing adjudication of Plaintiff’s application within 120 days of Plaintiff’s
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       interview date, up to and including March 7, 2023, absent unforeseen or exceptional

       circumstances that would require additional time for adjudication.

               c.      If the adjudication of Plaintiff’s application is not complete by March 7,

       2023, the Parties will provide a status report to the Court.

               d.      Plaintiff agrees to submit all supplemental documents and evidence to

       USCIS within seven to 10 days prior to the agreed upon interview date (November 7,

       2022). Further, Plaintiff recognizes and agrees that failure to submit such documents

       within this time frame may result in the interview being rescheduled at no fault of USCIS.

               e.      Upon receipt of the Arlington Asylum Office’s decision, Plaintiff agrees to

       voluntarily dismiss this case.

               f.      The Parties agree to bear their own litigation costs and attorney fees.

       3.      The Parties believe that a stay of this action (including the deadline for Defendant’s

first responsive pleading), subject to the above terms and conditions, best serves the issues in this

case, the interests of judicial economy, and the Parties’ resources.

       4.      Counsel for Plaintiff has reviewed this motion and consents to the stay of this action

pursuant to the above terms and conditions.



                                                       Respectfully submitted,
                                                       Erek L. Barron
                                                       United States Attorney

                                                            /s/
                                                       Vickie E. LeDuc (Bar No. 805577)
                                                       Assistant United States Attorney
                                                       36 S. Charles Street, Fourth Floor
                                                       Baltimore, Maryland 21201
                                                       410-209-4800
                                                       Vickie.LeDuc@usdoj.gov
                                                       Counsel for Defendants
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                           CERTIFICATE OF SERVICE

       I certify that on September 26, 2022, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF System, which will send notice of such filing to all counsel.



                                                            /s/
                                             Vickie E. LeDuc
                                             Assistant United States Attorney
